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 1    Todd M. Friedman (SBN 216752)
      Adrian R. Bacon (SBN 280332)
 2    LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3    21550 Oxnard St., Suite 780
      Woodland Hills, CA 91367
 4
      Phone: 877-206-4741
 5    Fax: 866-633-0228
 6
      tfriedman@toddflaw.com
      abacon@toddflaw.com
 7    Attorneys for Plaintiff
 8
                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
     KEVIN WOODS, individually and on )          Case No.
11   behalf of all other similarly situated, )
12                                           )   CLASS ACTION
     Plaintiff,                              )
13
                                             )   COMPLAINT FOR VIOLATIONS
14          vs.                              )   OF:
15                                           )
     MIDLAND CREDIT                          )   (1) Federal Fair Debt Collection
16   MANAGEMENT, INC., and DOES 1 )              Practices Act [15 U.S.C. § 1692 et
17   through 10, inclusive,                  )   seq.]
                                             )   (2) Rosenthal Fair Debt Collection
18
     Defendant.                              )   Practices Act [Cal. Civ. § 1788 et seq.]
19                                           )
                                             )   DEMAND FOR JURY TRIAL
20
                                             )
21
22         Plaintiff, KEVIN WOODS (“Plaintiff”), individually, and on behalf of all
23
     others similarly situated, brings this action against Defendant, MIDLAND
24
25   CREDIT MANAGEMENT, INC. (“Defendant”), alleging the following upon
26
     information and belief based upon personal knowledge:
27
28



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 1                                   INTRODUCTION
 2
 3         1.      Plaintiff brings this class action on behalf of all individuals who

 4   received collection emails from Defendant wherein Defendant harassed consumers
 5
     and debtors and used deceptive means in attempting to collect alleged debts,
 6
 7   thereby violating both the Federal Fair Debt Collection Practices Act, 15 U.S.C. §
 8
     1692 et seq. (“FDCPA”) and the Rosenthal Fair Debt Collection Practices Act, Cal.
 9
10   Civ. Code § 1788 et seq. (“RFDCPA”).
11
                                JURISDICTION & VENUE
12
13         2.      This Court has original jurisdiction over this matter because it arises
14
     under the laws of the United States. Therefore, Jurisdiction is proper pursuant to 28
15
16   U.S.C. § 1331. Furthermore, this Court has supplemental jurisdiction over
17
     Plaintiff’s RFDCPA claim, insofar as it arises under the same facts, pursuant to 28
18
19   U.S.C. § 1367(a).
20
           3.      A substantial part of the events giving rise to this action occurred in
21
22   the County of Los Angeles, California. Venue is therefore proper in the United

23   States District Court for the Central District of California pursuant to 28 U.S.C. §
24
     1391(b)(2).
25
26   ///
27
     ///
28



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 1                                       PARTIES
 2         4.     Plaintiff is a natural person residing in Los Angeles County, California
 3
     who allegedly owed or owes a debt and is thereby a “consumer” and a “debtor”
 4
 5   under the FDCPA, 15 U.S.C. § 1692a(3) and the RFDCPA, Cal. Civ. Code §
 6
     1788.2(h), respectively.
 7
 8         5.     At all relevant times herein, Defendant was a company engaged, by
 9   use of emails, in the business of collecting a debt from Plaintiff and others which
10
     qualifies as a “debt” and a “consumer debt” under the FDCPA, 15 U.S.C. §
11
12   1692a(5) and the RFDCPA, Cal. Civ. Code § 1788.2(f), respectively. Defendant
13
     regularly attempts to collect debts alleged to be due them or another, and therefore
14
15   is a “debt collector” under the FDCPA, 15 U.S.C. § 1692a(6) and the RFDCPA,
16
     Cal. Civ. Code § 1788.2(c).
17
18         6.     The above named Defendant, and its subsidiaries and agents, are

19   collectively referred to as “Defendants.” The true names and capacities of the
20
     Defendants sued herein as DOES 1 through 10, inclusive, are currently unknown
21
22   to Plaintiff, who therefore sues such Defendants by fictitious names. Each of the
23
     Defendants designated herein as a DOE is legally responsible for the unlawful acts
24
25   alleged herein. Plaintiff will seek leave of Court to amend the Complaint to reflect
26   the true names and capacities of the DOE Defendants when such identities become
27
     known.
28



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 1         7.     Plaintiff is informed and believes that at all relevant times, each and

 2   every Defendant was acting as an agent and/or employee of each of the other
 3
     Defendants and was acting within the course and scope of said agency and/or
 4
 5   employment with the full knowledge and consent of each of the other Defendants.
 6
     Plaintiff is informed and believes that each of the acts and/or omissions complained
 7
 8   of herein was made known to, and ratified by, each of the other Defendants.
 9                              FACTUAL ALLEGATIONS
10
           8.     Beginning in or around March 2, 2016, Defendant began contacting
11
12   Plaintiff in an effort to collect on an alleged debt allegedly.
13
           9.     During this process, Defendant, in its ordinary course of business,
14
15   began sending letters in an attempt to collect the alleged debt owed.
16
           10.    The debt is time-barred, as Plaintiff has not made a payment towards
17
18   the alleged debt within four years.

19         11.    Despite this, Defendant offered Plaintiff the ability to settle the debt
20
     by making regular payments or a onetime payment at 40% off the alleged debt.
21
22         12.    Given the disproportionate bargaining power between Defendant and
23
     Plaintiff, the aforementioned representations are likely to lead reasonable
24
25   consumers into believing that Defendant has a legal right to collect the debt that
26   can be enforced in Court when Defendant knows such representation is false.
27
           13.    Defendant attempted to trick Plaintiff into reviving the statute of
28



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 1   limitations on the time-barred debt. Defendant made its offer to settle the debts on

 2   payment knowing that such action on Plaintiff’s part would revive the statute of
 3
     limitations.
 4
 5         14.      Plaintiff has absolutely no desire or interest in reviving the statute of
 6
     limitations on the debt, nor did Plaintiff state or imply in any way such interest or
 7
 8   desire.
 9         15.      Despite this, Defendant made no statement to Plaintiff that a payment
10
     on the debt would revive the statute of limitations.
11
12         16.      As a direct and proximate result of Defendant’s conduct, Plaintiff felt
13
     deceived.
14
15                                 CLASS ALLEGATIONS
16
           17.      Plaintiff brings this action on behalf of herself and all others similarly
17
18   situated, as a member of the proposed class (“The Class”) defined as follows:

19                  All persons in the United States whom Defendant tried
20                  to contact an effort to collect an alleged debt that was
                    time barred within one (1) year of filing this complaint
21
                    wherein Defendant failed to disclose that payment on the
22                  alleged debt would revive the statute of limitation.
23
           18.      Specifically excluded from the proposed Class are Defendant; any
24
25   entities in which Defendant has a controlling interest; and the employees, officers,
26
     directors, affiliates, legal representatives, subsidiaries, and affiliates of Defendant.
27
28   The Class’ claims are based on the FDCPA and RFDCPA.


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 1         19.    This action is brought and may be properly maintained as a class

 2   action. This action satisfies the numerosity, typicality, adequacy, predominance
 3
     and superiority requirements for a class action.
 4
 5         20.    Plaintiff and members of The Class were harmed in the same way,
 6
     namely the following: they were misled by Defendant with respect to the character
 7
 8   and nature of the alleged debts and Defendant’s rights with respect thereto; and
 9   they all felt deceived as a result of Defendant’s conduct.
10
           21.    The Class is so numerous that the individual joinder of all of its
11
12   members is impractical. While the exact number and identities of The Class
13
     members are unknown to Plaintiff at this time and can only be ascertained through
14
15   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
16
     The Class includes thousands of members. Plaintiff alleges that The Class members
17
18   may be ascertained by the records maintained by Defendant.

19         22.    Common questions of fact and law exist as to all members of The
20
     Class which predominate over any questions affecting only individual members of
21
22   The Class. These common legal and factual questions, which do not vary between
23
     Class members, and which may be determined without reference to the individual
24
25   circumstances of any Class members, include, but are not limited to, the following:
26
                  a.    Whether Defendant attempted to collect on a time-barred debt
27
                        without revealing that a payment on a time-barred debt would
28
                        renew the statute of limitations;

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 1                b.    Whether Defendant used deceptive means in connection with
 2                      the collection of debts; and
 3                c.    The nature and extent of damages and other remedies to which
 4                      the conduct of Defendant entitles The Class members.
 5
 6         23.    Plaintiff is asserting claims that are typical of The Class because every

 7   other member of The Class, like Plaintiff, were exposed to virtually identical
 8
     conduct and are entitled to statutory damages up to $1,000.00 in addition to actual
 9
10   damages and reasonable attorneys’ fees and costs pursuant to the FDCPA and
11
     RFDCPA.
12
13         24.    Plaintiff will fairly and adequately protect the interests of the members
14   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
15
     class actions.
16
17         25.    A class action is superior to other available methods of fair and
18
     efficient adjudication of this controversy, since individual litigation of the claims
19
20   of all Class members is impracticable. Even if every Class member could afford
21
     individual litigation, the court system could not. It would be unduly burdensome
22
23   to the courts in which individual litigation of numerous issues would proceed.

24   Individualized litigation would also present the potential for varying, inconsistent,
25
     or contradictory judgments and would magnify the delay and expense to all parties
26
27   and to the court system resulting from multiple trials of the same complex factual
28
     issues. By contrast, the conduct of this action as a class action presents fewer


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 1   management difficulties, conserves the resources of the parties and of the court

 2   system, and protects the rights of each Class member.
 3
            26.   The prosecution of separate actions by thousands of individual Class
 4
 5   members would also create the risk of inconsistent or varying adjudications with
 6
     respect to, among other things, the need for and the nature of proper disclosures
 7
 8   which Defendant must provide to all Class members when attempting to collect
 9   alleged debts.
10
            27.   The prosecution of separate actions by individual Class members
11
12   would create a risk of adjudications with respect to them that would, as a practical
13
     matter, be dispositive of the interests of the other Class members not parties to such
14
15   adjudications or that would substantially impair or impede the ability of such non-
16
     party Class members to protect their interests.
17
18          28.   Defendant has acted or refused to act in respects generally applicable

19   to The Class, thereby making appropriate final and injunctive relief with regard to
20
     the members of The Class as a whole.
21
22
       COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES
23
                              ACT, 15 U.S.C. § 1692 ET SEQ.
24
                                (By Plaintiff and The Class)
25
26          29.   Plaintiff hereby incorporates the preceding paragraphs as if set forth
27
     in full.
28



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 1          30.    A debt collector may not falsely represent the character, amount or

 2   legal status of any debt in connection with the collection of any debt. 15 U.S.C.
 3
     §1692e(2)(A). By engaging in the above detailed conduct, Defendant violated this
 4
 5   provision of the FDCPA.
 6
            31.    A debt collector may not use false representations or deceptive means,
 7
 8   in connection with the collection of any debt. 15 U.S.C. §1692e(10). By engaging
 9   in the above detailed conduct, Defendant violated this provision of the FDCPA.
10
            32.    As a direct proximate result of Defendant’s conduct, Plaintiff and the
11
12   Class have suffered actual damages and other harm, thereby entitling them to seek
13
     statutory damages in the amount of $1,000.00 each, in addition to reasonably
14
15   incurred attorney’s fees and costs. 15 U.S.C. §1692k(a)(1)-(3).
16
                COUNT II: VIOLATION OF THE ROSENTHAL FAIR DEBT
17
        COLLECTION PRACTICES ACT, CAL. CIV. CODE § 1788 ET SEQ.
18
                                (By Plaintiff and The Class)
19
20
            33.    Plaintiff hereby incorporates the preceding paragraphs as if set forth
21
22   in full.

23          34.    Cal. Civ. Code §1788.17 mandates that every debt collector collecting
24
     or attempting to collect a consumer debt shall comply with the provisions of
25
26   Sections 1692b to 1692j, inclusive, of, and shall be subject to the remedies in
27
     Section 1692k of, Title 15 of the United States Code statutory regulations contained
28



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 1    within the FDCPA, 15 U.S.C. 1692 et seq.

 2          35.      Based upon the foregoing, Defendant’s conduct violated the RFDCPA
 3
      in multiple ways, including but not limited to:
 4
 5                a) Falsely representing the character or legal status in
 6
                     connection with collection of a debt (15 U.S.C. §
 7
 8                   1692e(2)(A)); and,
 9                b) Engaging in the use of any false or deceptive representation
10
                     or deceptive means to collect or attempt to collect any debt
11
12                   or to obtain information concerning a consumer (15 U.S.C.
13
                     §1692e(10)).
14
15          36.      Plaintiff alleges that to the extent that Defendant’s actions, counted
16
      above, violated the RFDCPA, those actions were done knowingly and willfully.
17
18          37.      As a direct and proximate result of Defendant’s violations of

19    RFDCPA, Plaintiff and the members of The Class have suffered injury, and may
20
      recover from Defendant one thousand dollars ($1,000.00) in statutory damages in
21
22    addition to actual damages and reasonable attorneys’ fees and costs pursuant to Cal.
23
      Civ. Code § 1788.30.
24
25          38.      The violations of RFDCA described herein present a continuing threat
26    to members of The Class and members of the general public in that Plaintiff is
27
      informed and believes and thereon alleges that Defendant continues to engage in
28



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 1    these practices, and will not cease doing so unless and until forced to do so by this

 2    Court.
 3
 4                                  PRAYER FOR RELIEF
 5
               Wherefore, Plaintiff respectfully requests the Court grant Plaintiff and The
 6
 7    Class members the following relief against Defendants, and each of them:
 8
                  1. That this action be certified as a class action on behalf of The Class
 9
10                   and Plaintiff be appointed as the representative of The Class;
11                2. For statutory damages of $1,000.00 for Plaintiff and each member of
12
                     The Class pursuant to 15 U.S.C. § 1692k;
13
14                3. For statutory damages of $1,000.00 for Plaintiff and each member of
15
                     The Class pursuant to Cal. Civ. Code § 1788.30;
16
17                4. For actual damages according to proof;
18
                  5. For reasonable attorneys’ fees and costs of suit;
19
20                6. For prejudgment interest at the legal rate; and

21                7. For such further relief as this Court deems necessary, just, and proper.
22
      ///
23
24    ///
25
      ///
26
27    ///
28    ///


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 1                            DEMAND FOR JURY TRIAL
 2
 3          Plaintiff demands a trial by jury of each and every claim so triable.
 4
 5
 6                                    Respectfully submitted,
 7                                    Dated: January 25, 2017
 8                                    LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 9
10
                                             s/ Todd M. Friedman
11                                           Todd M. Friedman
12
                                             Attorneys for Plaintiff

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